Case 4:19-cr-00006-MFU Document 67 Filed 01/16/20 Page 1 of 1 Pageid#: 201
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                         AGREED STATEM ENT OF FACTS

      The eventsleading to CountOne ofthe lndictm entoccurred in Henry County,in

the W estern D istrictofV irginia on June 27,2018.

      Thatday,the Virginia State Police and the D EA w ere conducting interdiction

operationson Route 220 in H enry County.W hile so doing,TrooperSparksofthe V SP

noticed M r.D oroperating a carw ith w hatappeared to beexcessivew indow tint,and

stopped him because ofthis. Based on hisobservationsduring the stop,TrooperSparks

searched M r.Dor's car.The search uncovered whatw aslaterfound by lab to be

approxim ately 123 grnm sofheroin m ixture,along w ith othercontrolled substances.

      M r.Dorw asadvised ofhisM ir         ights and adm itted thathe w asa courier,
                            >    2:
transporting theheroin            ' to    e to som eone in the Suffolk,V irginiaarea.

      Iagree thatthisis a eorred statem ent ofthe factsthattheU nited Statesw ould have
 roved,had       at         to trial.



 o     .Dor
  efendant



Christine Lee,Esq.                              A ssistantUnited StatesAttorney
CounselforDefendant
